                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

 STATE OF TEXAS, et al.,

                  Plaintiffs,

     v.
                                                      No.: 6:24-cv-00306
 UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY, et al.,

                  Defendants.



      OPPOSED MOTION BY AMICI FOR LEAVE TO PRESENT FACT WITNESS

          Amici Oscar Silva Perez, Natalie Taylor, Salvador Doe, Justin Doe, Carmen Miranda Zayas,

Ricardo Ocampo Hernandez, Jessika Ocampo Hernandez, Foday Turay, Jaxhiel Turay, Genaro

Vicencio Palomino, Cindy Siqueiros Maduena, and the Coalition for Humane Immigrant Rights

respectfully request leave of this Court to present one fact witness—amicus Foday Turay—during

the hearing and trial scheduled for November 5, 2024. See Morales v. Turman, 820 F.2d 728, 730

(5th Cir. 1987) (in underlying case out of E.D. Texas, “Amici’s counsel . . . presented amici’s

witnesses at trial and cross-examined plaintiffs’ and defendants’ witnesses.”).

          Amici reached out to seek the Parties’ position on this motion before they filed their

stipulations with the court on October 25, in which the Parties agreed that they will not present any

live witnesses at trial. Both Plaintiffs and Defendants oppose this motion. Amici file this motion so

that the court may consider their limited proposal to present at trial one fact witness who is an

applicant for the Keeping Families Together parole process challenged in this case along with the

Parties’ submission on the presentation of witnesses and evidence. Amici anticipate that they would

need 15 minutes for direct examination of Mr. Turay. The Parties would have cross-examination time


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and Amici would need re-direct time, potentially, depending on any cross-examination by the Parties.

Amici appreciate the court’s recent order granting them time to argue at trial and wanted to move

quickly for time to present this one fact witness as the court is determining how to allocate time

among the parties for trial on November 5.

       A proposed order is attached.



 Dated: October 28, 2024                             Respectfully submitted,


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                                        Counsel for Amici



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                                    CERTIFICATE OF SERVICE

          I hereby certify that on October 28, 2024, I electronically filed this motion with the Clerk of

the Court for the United States District Court for the Eastern District of Texas by using the CM/ECF

system. Counsel in this case are registered CM/ECF users and service will be accomplished by the

CM/ECF system.

                                                               /s/ Hillary Li
                                                               Hillary Li


                                 CERTIFICATE OF CONFERENCE

          I hereby certify that counsel for Amici have complied with the meet and confer requirements

of Local Rule CV-7(h). On October 28, 2024, counsel for Amici—Esther H. Sung, Harold A. Solis,

and Hillary Li—conferred with counsel for Plaintiffs—Ryan Walters—by telephone about the relief

requested in this motion. Plaintiffs oppose this motion because the Parties have already agreed to

trial proceedings that will not involve any live witnesses, and because Amici are not parties to the

case, so it would be improper for non-parties to have witnesses testify and be part of the record of

the case. On October 28, 2024, counsel for Amici—Esther H. Sung and Brandon Galli-Graves—

conferred with counsel for Defendants—Caroline McGuire and Erin Ryan—by videoconference

about the relief requested in this motion. Defendants oppose this motion, pursuant to Defendants'

agreement in ECF No. 92 that there would be no live witnesses at the hearing. Pursuant to Local Rule

CV-7(i), discussions have conclusively ended at an impasse, leaving an open issue for the Court to

decide.

                                                               /s/ Hillary Li
                                                               Hillary Li




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